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   From:       Duncan, Francine J
  Sent:        Wed, 2 Sep 2015 16:40:05 -0400(EDT)
  To:          Gundy, Bruce[B Gundy@amerisourcebergen.com]; Mays, Steve
               [SMays@amerisourcebergen.com]; Crow, Robert[RCrow@amerisourcebergen.com];
               May, David[DMay@amerisourcebergen.com]; Zimmerman, Chris
               [CZimmerman@amerisourcebergen.com]; Ross, Paul[PRoss@amerisourcebergen.com]
  Subject:     Matter Management: Final Review of Phase 1 FTI Findings & Recommendations,
               updated with team&apos;s feedback(ATTACHMENT ADDED)
  Location:    LOCATION UPDATE: CHRIS&apos; OFFICE & REMOTE
  Start Time:  Thu, 3 Sep 2015 14:00:00 -0400(EDT)
  End Time:    Thu, 3 Sep 2015 15:00:00 -0400(EDT)
  Attachments: 08.17.15 FTI Findings Matrix v4.docx


  Updated document attached.

  Thank you,
  Fran




  Remote Meeting Information


  AUDIO:

  CONFERENCE CALL NUMBER: U.S. Toll free: 1 800 315.5963; Participant passcode: 95637510 then #


  ONLINE:

  Topic: Matter Management: Final Review of Phase 1 FTI Findings & Recommendations, updated with team's
  feedback
  Date: Thursday, September 3, 2015
  Time: 2:00 pm, Eastern Daylig




                                                                                            17-MDL-2804

                                                                                        PLAINTIFFS TRIAL
                                                                                            EXHIBIT
                                                                                      P-00472_00001



HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                          ABDCMDL00250023
                                                                                           ABDCMDL00250023
                                                                                               P-0047200001
                                                              Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 2 of 41 PageID #: 72957




  AmerisourceBergen Corporation
  CSRA Process Review — Findings Matrix

  ID No. Affected                    Category   Findings & Observations                                                         Gaps & Risks                   Potential   Recommendations
         Area &                                                                                                                                                Business
         Activity                                                                                                                                              Impact
  1      Diversion                   People     There are inconsistencies with respect to who is reviewing and                  -Regulatory obligations        Yellow      Identify dedicated resource(s) and
         Control                                adjudicating orders held by the OMP at the distribution center. At some         related to diversion control               alternatives at the distribution center to be
                                                facilities, it is the warehouse managers and supervisors, at others it is the   -Inconsistencies in the                    trained on the OMP. Ensure they have
                                                cage and vault clerks or the compliance clerks and at others it is the data     treatment of orders held                   received the training and reference guides
                                                process team.                                                                   for review                                 developed by the corporate team.
                                                                                                                                -Inability to support
                                                                                                                                decisions upon third party                 I n theory, the first-line reviewers should not
                                                                                                                                inquiry                                    be within CSRA because they are responsible
                                                                                                                                                                           for auditing the process. Ultimately this
                                                                                                                                                                           responsibility should fall to a salaried
                                                                                                                                                                           employee due to the importance of the
............. ....................     —                                                                                                                                   function.
                            Assigned'to:        David May
  RANKING:
                                                                                      _ Group A, Can be addressed Operationally

                           Select Priority:__ High _Medium --Low _X_ NA                                                         Select Category:_ Must Do __ Like to Do _Do Not Need to Do




                                                                                            _ Group B, Requires an IT Solution

                           Select Priority:__ High _Medium --Low _X_ NA                                                         Select Category:__ Must Do _ Like to Do __Do Not Need to Do

  DISCUSSION NOTES:

          1. NO FURTHER ACTION REQUIRED -Consistency is found in the training and process; a dedicated resource is not necessary.




  1                                                                                                                                                                                           August 25,2015




   HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                         ABDCMDL00250024
                                                                                                                                                                                                                             ABDCMDL00250024
                                                                                                                                                                                                                                 P-0047200002
                                               Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 3 of 41 PageID #: 72958




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No. Affected       Category     Findings & Observations                                                   Gaps & Risks                   Potential   Recommendations
       Area &                                                                                                                               Business
       Activity                                                                                                                             Impact
2      Diversion      Processes    There is currently a lack ofvisibility to the process and rationale for   -Regulatory obligations        Yellow      The Diversion Control Team is currently
       Control                     adjudicating orders held for review. While both the corporate and         related to diversion control               working to standardize the processes and
                                   distribution center personnel reviewing orders provide comments, there    -Inconsistencies in the                    protocols for evaluating and documenting the
                                   is no standard set of defined reasons to support those decisions.         treatment of orders held                   decision rationale in order to drive
                                                                                                             for review                                 consistency and transparency at both the
                                                                                                             -Inability to support                      corporate and distribution center level
                                                                                                             decisions upon third party                 reviews. Continue to develop additional
                                                                                                             inquiry                                    training and guidance regarding the order
                                                                                                                                                        adjudication process.
                   Assigned to: David May
RANKING:
                                                                      _ Group A, Can be addressed Operationally

               Select Priority:__ High _Medium --Low _X_ NA                                                  Select Category:_ Must Do __ Like to Do _Do Not Need to Do




                                                                            _ Group B, Requires an IT Solution

               Select Priority:__ High _Medium --Low _X_ NA                                                  Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:

    1. NO FURTHER ACTION REQUIRED -There is complete visibility in the process, training and rationale. Training is in place; further documentation exists within the
         Policies & Procedures.
    2. CSRA recommendation —develop a more robust messaging system for the customer, that would support decisions made regarding OMP.
    3. CSRA has identified enhancements to SAP that would also benefit customer support.




2                                                                                                                                                                        August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                           ABDCMDL00250025
                                                                                                                                                                                                       ABDCMDL00250024_00001
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No. Affected          Category      Findings & Observations                                                      Gaps & Risks                   Potential   Recommendations
        Area &                                                                                                                                      Business
        Activity                                                                                                                                    Impact
 3      Diversion         Systems       There is no coordination of order monitoring between ABDC and ABSG.          --Regulatory obligations       Red         Although the volume of controlled substances
        Control                         This presents the risk that a customer terminated by ABDC could              related to diversion control               handled by ABSG facilities id relatively low,
                                        continue to be serviced by ABSG, which has happened.                         --Inconsistencies in the                   the risks associated with the monitoring of
                                                                                                                     treatment of orders held                   controlled substances and reporting of
                                        Further for ABSG, there is no electronic monitoring of orders, all           for review                                 suspicious orders are particularly high.
                                        communications related to OMP matters are through email and any held         --Inability to confirm that
                                        orders must be approved by Frisco in order to fill. The OMP is a very        activities are compliant                   Formalize and memorialize the OMP for the
                                        manual process and the only record of OMP reviews by ABSG is the             with agreed upon                           other business units. Improve
                                        email from the location identifying any suspicious orders to the corporate   standards and protocols                    communications and information sharing
                                        business unit.                                                                                                          between the business units distributing
                                                                                                                                                                controlled substances. Develop Master
                                                                                                                                                                Customer Maintenance files that are common
................................                                                                                                                                to all business units and locations.
                              Assigned to: David May
  RANKING:
                                                                            _ Group A, Can be addressed Operationally

                  Select Priority:__ High _Medium --Low — NA                                               Select Category:_ Must Do __ Like to Do __Do Not Need to Do




                                                                                  _ Group B, Requires an IT Solution

                  Select Priority:__ High _Medium --Low — NA                                              Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:




 3                                                                                                                                                                               August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                  ABDCMDL00250026
                                                                                                                                                                                                                ABDCMDL00250024_00002
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                                                         Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 5 of 41 PageID #: 72960




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.    Affected          Category        Findings & Observations                                                        Gaps & Risks                   Potential   Recommendations
           Area &                                                                                                                                          Business
           Activity                                                                                                                                        Impact
 4         Regulatory        Systems         Audit checklists are completed on paper, risk values and reports are           --Ineffective utilization of   Yellow      Create an electronic version of the audit checklists
           Oversight —                       manually developed so there is limited electronic evidence of the audit.       time and resources —                       within the matter management solution that will
           Audits                            Audit results — scores, findings, issues —are tracked manually in              reduced productivity,                      capture the audit findings, calculate risk values
                                             spreadsheets. In addition to being an inefficient way to manage the audit      reduced efficiency,                        and generate dashboards and reports. This will
                                                                                                                                                                       improve efficiencies while eliminating the manual
                                             process, this makes it difficult to identify trends and risk areas that need   reduced quality
                                                                                                                                                                       tracking and double recording of audit findings.
                                             to be address.                                                                 -- Compromises the ability
                                                                                                                            to collect relevant data                   Utilizing an electronic checklist would also allow
                                                                                                                            and information                            improvements to the reporting and tracking of
                                                                                                                            --Inability to confirm that                audits:
                                                                                                                            audits are complying with                  --reducing the time and effort to manually prepare
                                                                                                                            agreed upon standards                      multiple iterations of the audit report by
                                                                                                                            and protocols                              establishing templates that are fed by data
                                                                                                                                                                       responsive to the checklists — to the facilities
                                                                                                                                                                       through a recap report, regional leadership
                                                                                                                                                                       through the preliminary report and management
                                                                                                                                                                       via the final report,
                                                                                                                                                                       --trending data in order to share insights gained
                                                                                                                                                                       from the audits to all locations including the
                                                                                                                                                                       problem areas, practices shown to be effective in
                                                                                                                                                                       addressing those areas and positive compliance
                                                                                                                                                                       results,
                                                                                                                                                                       --establishing controls to confirm that audit
                                                                                                                                                                       protocols are completed according to defined
                                                                                                                                                                       standards and results are being reviewed regularly
............ ..................                                                                                                                                        by leadership.
                      .
                       .......Assigned to:   Mays
 RANKING-

                                                                                  — Group A, Can be addressed Operationally

                    Select Priority:__ High _Medium --Low                               — NA                      Select Category:_ Must Do __ Like to Do _Do Not Need to Do

                                                                                       XXX Group B, Requires an IT Solution


                    Select Priority:__ High XXX Medium — Low --NA                                                Select Category: XXX Must Do __ Like to Do _Do Not Need to Do

 NOTES:



 4                                                                                                                                                                                         August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                ABDCMDL00250027
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                                               Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 6 of 41 PageID #: 72961




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No. Affected       Category      Findings & Observations                                                   Gaps & Risks                   Potential   Recommendations
       Area &                                                                                                                                Business
       Activity                                                                                                                              Impact
5      Regulatory     Processes Audits are inefficient and there's a lot of administrative work associated    --Ineffective utilization of   Green       Having access to items required for the pre-
       Oversight —              with the audits that CSRA must complete. It is a time consuming process       time and resources —                       audit and audit through a Matter
       Audits                   to gather the required information, such as historical audit reports and      reduced productivity,                      Management Solution would increase
                                training records, during the pre-audit. The on-site audit takes 30-40 hours   reduced efficiency,                        efficiencies and reduce the time needed to be
                                to complete, plus there is additional time required to assign risk values     reduced quality                            spent on-site as documentation such as
                                and transcribe the notes into an audit report. The entire process through                                                previous audits or safety checklists could be
                                to final reports generally takes 6-8 weeks.                                                                              reviewed remotely by the auditor.
      ............:Assigned to: Mays
RANKING-
                                                                      — Group A, Can be addressed Operationally

               Select Priority:__ High _Medium --Low — NA                                           Select Category:_ Must Do __ Like to Do _Do Not Need to Do




                                                                           XXX, Group B, Requires an IT Solution

               Select Priority:__ High XXX Medium — Low --NA                                       Select Category:_Must Do XXX Like to Do _Do Not Need to Do

NOTES:




5                                                                                                                                                                         August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                             ABDCMDL00250028
                                                                                                                                                                                                         ABDCMDL00250024_00004
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                                               Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 7 of 41 PageID #: 72962




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No. Affected       Category     Findings & Observations                                                    Gaps & Risks              Potential   Recommendations
       Area &                                                                                                                           Business
       Activity                                                                                                                         Impact
6      Regulatory     Processes CSRA does not have different checklists for the ABSG business units.          --Lack of visibility to   Red         Create an audit checklist and program
       Oversight —              The auditors just "skip over" the questions that are not applicable, but do   issues or incidents not               specific to each business unit and train the
       Audits                   not supplement the checklists for requirements that are unique to those       captured                              auditors on the procedures, risks and
                                business units even though there are fundamental differences in the                                                 controls.
                                business operations. For example, there are regulatory obligations
                                associated with the relabeling that occurs at ICS that should be assessed
                                as part of a Security & Regulatory Compliance audit.
              ....:Assigned to: Mays/Ross
RANKING:
                                                                     XXX Group A, Can be addressed Operationally

               Select Priority: XXX High _Medium _Low --NA                                          Select Category: XXX Must Do __Like to Do _Do Not Need to Do




                                                                           XXX, Group B, Requires an IT Solution

               Select Priority: __XXX _High _Medium __Low — NA                                                Select Category: XXX Must Do __Like to Do _Do Not Need to Do

NOTES: This one is both an operational and IT solution.




6                                                                                                                                                                     August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                       ABDCMDL00250029
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                                                      Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 8 of 41 PageID #: 72963




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.    Affected        Category       Findings & Observations                                                    Gaps & Risks                   Potential   Recommendations
           Area &                                                                                                                                   Business
           Activity                                                                                                                                 Impact
 7         Regulatory      Processes      Facilities are required to complete self-audits, but there is a lack of    --Ineffective utilization of   Green       E4v'entory:and:evaluate:the:tools:and:rep6r(s
           Oversight —                    guidance around the self-audit requirements and protocols. In addition,    time and resources —                       caarrei~ts:Eked:by:the:t al:tea[ns:.:Establish:a
           Audits                         there is no template for reporting results to their Regional Director as   reduced productivity,                      CSRA.pal:irv..ta provide. more.formatized.and
                                         instead the Compliance Managers just provide their own narratives.          reduced efficiency,                        Consistentguidance related:to:selfaudits.
                                         Finally, the self-audits are completed manually so can be quite time        reduced quality                            including:the:frequency:for:completingsalf.
                                         consuming and there is no electronic evidence of the audit.                 --Inability to confirm that                audits: the Prot ols:for:c:onduefi:ng:self
                                                                                                                     activities are compliant                   eudlts:andl the:requizeinet3ts:farreporitg ktet
                                                                                                                     with agreed upon                           d0f-h I g:the:res:utts dfselfaudits.               Comment[CZ1]: This portion is operational???
                                                                                                                     standards and protocols
                                                                                                                     --Inconsistent reporting of                I ncorporate the standard protocols into a
                                                                                                                     results can cause                          matter management system that can track
                                                                                                                     oversight to potential                     self-audit findings and generate audit reports,
................................                                                                                     issues                                     results and scores.
                             :.Assigned to: Mays
 RANKING:
                                                                           XXX----. Group A, Can be addressed Operationally

                   Select Priority: XXX            High _Medium _Low                    _NA                          Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

                                                                                   XXX Group B, Requires an IT Solution

                   Select Priority:__ High XXX Medium — Low --NA                                            Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

 NOTES:




 7                                                                                                                                                                                 August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                         ABDCMDL00250030
                                                                                                                                                                                                                       ABDCMDL00250024_00006
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                                                       Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 9 of 41 PageID #: 72964




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No. Affected           Category       Findings & Observations                                                           Gaps & Risks                 Potential   Recommendations
        Area &                                                                                                                                           Business
        Activity                                                                                                                                         Impact
 8      Regulatory         Processes        There are inconsistencies between distribution centers in the processes         --Inconsistencies in         Green       Inventory and evaluate the tools and reports
        Oversight —                         for completing required activities. These are exacerbated because there         executing established                    currently used by the corporate and local staff
        Compliance                          is limited interaction between distribution centers or across regions. In       processes                                and facilitate better collaboration and
                                            addition, there are inconsistencies in how the facilities access and            --No regularized review of               communication between distribution centers
                                            consume information to support their compliance activities. For example,        what works and what                      to identify and implement best practices.
                                            inventory adjustment reports can be customized so currently look                doesn't in order to drive
                                            different for different distribution centers which could lead to inconsistent   best practices
............. ..................            application of review standards.
                       .
                        .......Assigned to: Mays
   RANKING:
                                                                               XXX Group A, Can be addressed Operationally

                   Select Priority:__ High XXX Medium — Low --NA                                                 Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

                                                                                       _ Group B, Requires an IT Solution

                   Select Priority:__ High _Medium --Low — NA                                                    Select Category:__ Must Do _ Like to Do __Do Not Need to Do

  NOTES:




 8                                                                                                                                                                                     August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                         ABDCMDL00250031
                                                                                                                                                                                                                       ABDCMDL00250024_00007
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                                                    Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 10 of 41 PageID #: 72965




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No. Affected          Category       Findings & Observations                                                       Gaps & Risks                   Potential   Recommendations
        Area &                                                                                                                                        Business
        Activity                                                                                                                                      Impact
 9      Regulatory        Systems        Compliance training is a manual effort and seems inefficient. Training is     --Ineffective utilization of   Yellow      Leverage the Training Committee in order to
        Oversight —                      conducted through in-person presentations, though there are                   time and resources —                       review current training content and practices and
        Compliance                       inconsistencies in who delivers the training. The tracking and reporting of   reduced productivity,                      evaluate whether existing online learning platforms
                                         training records and completion rates is done manually via spreadsheet.       reduced efficiency,                        can be leveraged to administer, track and report
                                                                                                                                                                  on required compliance training activities as part of
                                                                                                                       reduced quality                            the hiring and on-boarding process managed by
                                         For example, some Compliance Managers are holding weekly trainings            --Lack of visibility to                    Human Resources.
                                         for new associates, and even then may have to conduct additional              associate compliance and
                                         sessions during the week. The in-person training takes multiple hours to      no regularized review to                   At a minimum, create a centralized electronic
                                         conduct and also involves 20 page paper tests that need to be manually        drive best practices                       database or system for tracking and reporting
                                         completed and scored.                                                                                                    associate status and compliance with training
                                                                                                                                                                  requirements.
                                         Turnover at the warehouse also makes training more of a major
                                         challenge as there is an increased need to train additional associates.                                                  Define and enforce remedial action steps if a
                                                                                                                                                                  worker does not fulfill their training requirements
                                                                                                                                                                  and/or does not complete mandatory training in
                                                                                                                                                                  the required timeframe.
.
 ............................:Assigned to: Mays
  RANKING:
                                                                            XXX Group A, Can be addressed Operationally

                   Select Priority:__ High XXX Medium — Low --NA                                            Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

                                                                                  XXX Group B, Requires an IT Solution

                   Select Priority:__ High XXX Medium — Low --NA                                            Select Category:__ Must Do XXX Like to Do _Do Not Need to Do

 NOTES:




 9                                                                                                                                                                                     August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                            ABDCMDL00250032
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                                                        Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 11 of 41 PageID #: 72966




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.    Affected          Category        Findings & Observations                                                      Gaps & Risks                      Potential     Recommendations
           Area &                                                                                                                                           Business
           Activity                                                                                                                                         Impact
 10        Regulatory        People          CSRA team members sometimes assume responsibilities that are not             --Ineffective alignment and       GreenNellow   Develop master list of responsibilities for the
           Oversight —                       "compliance related" because they feel compliance has the most at stake      allocation of resources and                     Compliance Managers and Clerks, including
           Compliance                        (since CSRA is responsible for maintaining the facility licenses and         expertise                                       tactical guidance for completing activities that
                                              reporting losses to the DEA)and believe they are best suited to ensure      --Opportunity forthings to fall                 need to be performed on a daily, weekly, monthly,
                                                                                                                          through the cracks if                           annual basis and levels of authority and autonomy
                                              things are done correctly. For example, certain customer claims related
                                                                                                                          responsibilities are not                        for making decisions.
                                              to shortages
                                                       g should be investigated
                                                                             g    by the Inventory
                                                                                                 ry Manager
                                                                                                         g in the first   dearly defined
                                              instance because they would have more direct access to receiving and        _ _Difficult to drive                           It is also important to ensure that Compliance
                                              inventory records.                                                          consistendes when                               Managers are not auditing their own areas of
                                                                                                                          governance and processes                        responsibility so CSRA should work with
                                             Having the Compliance Managers report into CSRA instead of                   are not well established                        Operations in defining those responsibilities.
                                             Operations has helped to reduce the operational tasks that Compliance        --No regularized review of
                                             Managers and Clerks are asked to perform, but there is some lingering        what works and what doesn't                     Work with Operations to change the mentality that
                                             confusion about the roles and responsibilities of the Compliance             in order to drive best                          anything "controlled" is the responsibility of CSRA
                                                                                                                          practices                                       and instead encourage associates to focus on the
                                             Manager at the distribution center.
                                                                                                                                                                          nature of the question or issue to determine who is
                                                                                                                                                                          best to address the request.
.
 ............................:Assigned to:   Mays
 RANKING:
                                                                                XXX Group A, Can be addressed Operationally


                    Select Priority: XXX High _Medium — Low --NA                                                Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

                                                                                       _ Group B, Requires an IT Solution


                    Select Priority:__ High _Medium --Low                              — NA                    Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:




 10                                                                                                                                                                                           August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                  ABDCMDL00250033
                                                                                                                                                                                                                                ABDCMDL00250024_00009
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                                                        Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 12 of 41 PageID #: 72967




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No. Affected             Category        Findings & Observations                                                        Gaps & Risks                        Potential   Recommendations
        Area &                                                                                                                                                  Business
        Activity                                                                                                                                                Impact
 11     Regulatory           People          The consolidation of the VP and Operations and the Operations Manager          --Ineffective alignment and         Green       Work with Operations to define the roles and
        Oversight —                          roles into the Director of Operations function also had a downstream           allocation of resources and                     responsibilities of the Compliance Managers and
        Compliance                           i mpact on compliance. In addition to the loss of a resource at the facility   expertise                                       the Directors of Operations, including their
                                             that had involvement in compliance-related activities, the Directors of        --Inefficient utilization of time               obligations as it relates to compliance activities at
                                                                                                                            and resources and potential                     the facilities.
                                             Operations have a lot of responsibilities (including picking, packing and      for duplication of efforts
.................................            shipping) so do not have as much time to focus on compliance.
............ ...................
                              designed to:
  RANKING:
                                                                                XXX Group A, Can be addressed Operationally

                    Select Priority:__ High XXX Medium — Low --NA                                                Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                                        _ Group B, Requires an IT Solution

                    Select Priority:__ High _Medium --Low — NA                                                  Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:




 11                                                                                                                                                                                              August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                      ABDCMDL00250034
                                                                                                                                                                                                                                    ABDCMDL00250024_00010
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                                                        Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 13 of 41 PageID #: 72968




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.    Affected          Category        Findings & Observations                                                      Gaps & Risks                        Potential   Recommendations
           Area &                                                                                                                                             Business
           Activity                                                                                                                                           Impact
 12        Regulatory        People          Centralization of Customer Care presented certain challenges because         --Ineffective alignment and         Green       Provide additional training and guidance to
           Oversight —                       the associates are not as knowledgeable about the customers or their         allocation of resources and                     Customer Care associates, and ensure that they
           Compliance                        issues. For example, when a customer calls in a claim for product            expertise                                       are re-educated when there are procedural
                                             shortage, the Customer Care Associate may not ask all of the necessary       --Inefficient utilization of time               changes that may impact customers. For example,
                                                                                                                          and resources and potential                     develop a checklist of questions to ask when
                                             questions to collect the relevant information. As a result, the Compliance
                                                                                                                          for duplication of efforts                      following up on a customer claim alleging product
                                             Managers have had to assume certain responsibilities and activities that                                                     loss.
                                             used to fall to the local customer representatives.
                                                                                                                                                                          Consider whether to have Customer Care
                                                                                                                                                                          associates that are dedicated to handling
............ ..................                                                                                                                                           controlled substance inquiries.
                      .
                       .......Assigned to:   Mays
 RANKING:
                                                                                XXX Group A, Can be addressed Operationally


                    Select Priority:__ High XXX Medium — Low --NA                                               Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                                       _ Group B, Requires an IT Solution


                    Select Priority:__ High _Medium --Low                              — NA                    Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:




 12                                                                                                                                                                                          August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                ABDCMDL00250035
                                                                                                                                                                                                                              ABDCMDL00250024_00011
                                                                                                                                                                                                                                       P-0047200013
                                                Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 14 of 41 PageID #: 72969




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No.   Affected      Category      Findings & Observations                                                     Gaps & Risks                        Potential   Recommendations
         Area &                                                                                                                                      Business
         Activity                                                                                                                                    Impact
13       Regulatory    People        Centralization of the Human Resources function has made certain             --Ineffective alignment and         Green       Provide additional training and guidance to Human
         Oversight —                 activities, such as onboarding new associates and pulling associate         allocation of resources and                     Resources associates, and ensure that they are
         Compliance                  records, more challenging than when the function existed at the             expertise                                       re-educated when there are procedural changes
                                     distribution center. For example, when requesting associate files to        --Inefficient utilization of time               that may impact associate tracking. For example,
                                                                                                                 and resources and potential                     develop a checklist of documents to provide when
                                     support an audit or investigation, it can take a long time to receive
                                                                                                                 for duplication of efforts                      a personnel file is requested.
                                     requested information and often not all of the requisite information is
                                     provided in the first instance.
         ............:Assigned to:   Mays
RANKING:
                                                                        XXX Group A, Can be addressed Operationally


               Select Priority:__ High XXX Medium — Low --NA                                              Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                                _ Group B, Requires an IT Solution


               Select Priority:__ High _Medium --Low                            — NA                     Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:




13                                                                                                                                                                                  August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                         ABDCMDL00250036
                                                                                                                                                                                                                     ABDCMDL00250024_00012
                                                                                                                                                                                                                              P-0047200014
                                                Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 15 of 41 PageID #: 72970




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No. Affected        Category      Findings & Observations                                                     Gaps & Risks                        Potential   Recommendations
       Area &                                                                                                                                        Business
       Activity                                                                                                                                      Impact
14     Regulatory      People   Centralization of the Transportation function has also presented                 --Ineffective alignment and         Green       Provide additional training and guidance to
       Oversight —              challenges. The Transportation Managers are often not responsive to              allocation of resources and                     Transportation Managers regarding their role and
       Compliance               inquiries, leaving the Compliance Managers to assume the                         expertise                                       responsibilities related to investigations and other
                                responsibilities that used to belong to the local transportation associates      --Inefficient utilization of time               compliance activities, including guidance on who
                                                                                                                 and resources and potential                     to contact and what information to provide.
                                particularly as it relates to investigations. On the flip side, Transportation   for duplication of efforts
                                Managers sometimes do not understand how and when to notify CSRA
                                when there is a suspected loss of controlled substances.
      ............:Assigned to: Mays
RANKING:
                                                                        XXX Group A, Can be addressed Operationally

                Select Priority:__ High XXX Medium — Low --NA                                           Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                               _ Group B, Requires an IT Solution

                Select Priority:__ High _Medium --Low — NA                                             Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:




14                                                                                                                                                                                    August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                            ABDCMDL00250037
                                                                                                                                                                                                                        ABDCMDL00250024_00013
                                                                                                                                                                                                                                 P-0047200015
                                                         Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 16 of 41 PageID #: 72971




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No. Affected              Category       Findings & Observations                                                          Gaps & Risks                      Potential   Recommendations
        Area &                                                                                                                                                  Business
        Activity                                                                                                                                                Impact
 15     Regulatory            Processes       Many deficiencies may be due to process short-cuts taken at the                  --Conflicting priorities could   Yellow       Review the associate incentive and award
        Oversight —                          distribution centers by associates trying to achieve certain performance          result in additional risk                     programs at the distribution centers to ensure the
        Compliance                           targets and quotas.There:are.competing.mterests:as:CSRA is                        --Limits ability to head off                  goals align with the organizational goals and        Formatted: Highlight
                                                                                                                              -issues that may present                      -compliance-reiatedrequirements.Coorchate wit --
                                             Oesponslble:for:comptiance:and:safety:atthe:distribution:centersbEii              compliance challenges                         Operations in terms of assessing the business and
                                             E)Aerations:;+nthich:is::focused:on:speed:and:efficieiioj:i:n:picking p8 k3rig      Q uality assurance may                      service level impacts of any changes that are
                                               Rd Shipping::designs:fhe:incentive programs.                                   jeopardzed                                    made toancW4e programs.                               Comment[CZ2]: Not sure this is an issue, see
............ ......................
.............................. ::.  ......                                                                                                                                                                                        Notes below
                              Asienedo       Mays
  RANKING:
                                                                                  XXX Group A, Can be addressed Operationally

                     Select Priority:__ High XXX Medium — Low --NA                                                  Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                                          _ Group B, Requires an IT Solution

                     Select Priority:__ High _Medium --Low — NA                                                    Select Category:__ Must Do _ Like to Do __Do Not Need to Do

  NOTES: I am not sure this is an issue. CSRA has its interest to ensure compliance and Operations has itsXoal to efficient. CSRA's incentive Plan has nothing to do
 with Operations efficiency.




 15                                                                                                                                                                                            August 25, 2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                        ABDCMDL00250038
                                                                                                                                                                                                                                      ABDCMDL00250024_00014
                                                                                                                                                                                                                                               P-0047200016
                                               Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 17 of 41 PageID #: 72972




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No. Affected        Category     Findings & Observations                                                    Gaps & Risks                   Potential   Recommendations
       Area &                                                                                                                                 Business
       Activity                                                                                                                               Impact
16     Regulatory      ProcessesCSRA is often not consulted or involved in organizational initiatives or       --Limits ability to head off   Yellow      Need better processes and governance around
       Oversight —              business strategy discussions until late in the cycle of projects, making it   issues that may present                    the rules of engagement with CSRA—when and
       Compliance               appear that compliance is sometimes an afterthought. For example, the          compliance challenges                      howto include CSRA in the conversation. For
                                centralization of certain support services such as Customer Care and                                                      example, CSRA should be involved in initial
                                                                                                                                                          playbook meetings to understand and evaluate
                                Human Resources did not seem to contemplate the downstream impact                                                         any potential compliance considerations and
                                on compliance (e.g., local knowledge of the associates and delayed                                                        determine whether CSRA should be part of the
                                delivery of requested materials and information).                                                                         project team.
      ............:Assigned to: Mays
RANKING:
                                                                      XXX Group A, Can be addressed Operationally

                Select Priority:__ High XXX Medium — Low --NA                                        Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                             _ Group B, Requires an IT Solution

                Select Priority:__ High _Medium --Low — NA                                           Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:




16                                                                                                                                                                          August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                             ABDCMDL00250039
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                                                          Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 18 of 41 PageID #: 72973




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.     Affected           Category         Findings & Observations                                                  Gaps & Risks                        Potential   Recommendations
            Area &                                                                                                                                           Business
            Activity                                                                                                                                         Impact
 17         Regulatory         Processes        There is a general impression within CSRA that any "significant          --Lack of visibility to issues or   Red         Policies::pcoceduces:and:quiclel[nesregcditg         Formatted: Highlight
            Oversight —                         information" needs to be documented and tracked, but no clear guidance   incidents not captured                          ttacklttg:an:d:doeulnenttngIssues:and:acti,,itie1—
                                                                                                                                                                                                                              Comment[CZ3]: I believe this is an operation
            Compliance                          on what this means or how to do so.                                                                                                                                           issue as well. I thought we had P&Ps about
                                                                                                                                                                         Distribution Center Compliance Managers need to
                                                                                                                                                                         have controlled access to any matter management      documentation???
                                                                                                                                                                         system so that they can enter information that can
                                                                                                                                                                         be reviewed by corporate. For example, there can
                                                                                                                                                                         sometimes be hundreds of emails going bade and
................................                                                                                                                                         forth regarding an investigation.
 .
  ........................... : i4ssigned to:   Mays
  RANKING:
                                                                               XXX_ Group A, Can be addressed Operationally


                      Select Priority: XXX             High _Medium _Low                    _NA                          Select Category:             XXX Must Do _ Like to Do _Do Not Need to Do


                                                                                      XXX Group B, Requires an IT Solution


                      Select Priority:__ High XXX Medium — Low --NA                                           Select Category:__ Must Do XXX Like to Do _Do Not Need to Do

  NOTES:




 17                                                                                                                                                                                           August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                    ABDCMDL00250040
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.    Affected          Category        Findings & Observations                                                      Gaps & Risks                        Potential   Recommendations
           Area &                                                                                                                                             Business
           Activity                                                                                                                                           Impact
 18        Regulatory        Systems         There are many forms and checklists that have to be completed at the         --Ineffective utilization of time   Green        Inventory md.evd.08teell.nfthe:p8per              Formatted: Highlight
           Oversight —                       distribution center. Currently, most are completed manually and paper        and resources — reduced                         documentations;ompletedbyCSRA:pers0r1Ai ty
           Compliance                        copies are stored at the location. While certain information will continue   productivity, reduced                           daterinine:which:forins:arfd:chaW,ists:catift
                                             to need to be tracked manually (e.g., DEA Form 222s), other documents        efficiency, reduced quality                     tinsitionedaa:electruniciempl te                   Comment[CZ4]: Operation function as well
                                             could be transitioned to electronic form (e.g., safety checklists).                                                                                                             Formatted: Highlight
                                                                                                                                                                          Compliance Managers are mobile, as certain
                                                                                                                                                                          duties require them to walk around the warehouse
                                                                                                                                                                          facility. Consider providing Compliance Managers
                                                                                                                                                                          With iPads or tablets so that information can be
                                                                                                                                                                          collected contemporaneously and electronically
............ ..................                                                                                                                                           written to a database for access and reporting.
                      .
                       .......Assigned to:   Mays
 RANKING:
                                                                              XXX       Group A, Can be addressed Operationally


                    Select Priority:__ High XXX_ Medium --Low                               — NA                          Select Category: XXX — Must Do _ Like to Do _Do Not Need to Do

                                                                                      XXX Group B, Requires an IT Solution


                    Select Priority:__ High XXX Medium — Low --NA                                              Select Category:__ Must Do XXX Like to Do _Do Not Need to Do

 NOTES:




 18                                                                                                                                                                                          August 25, 2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                   ABDCMDL00250041
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AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No.   Affected      Category      Findings & Observations                                                  Gaps & Risks                  Potential   Recommendations
         Area &                                                                                                                             Business
         Activity                                                                                                                           Impact
19       Regulatory    Processes     There are no uniform reporting tools or templates within CSRA or         --Inconsistencies in          Yellow      Inventory and evaluate the tools and reports
         Oversight —                 governance around what needs to be reported to whom. For example,        executing established                     currently used by CSRA personnel. Evaluate what
         Compliance                  the Distribution Center Compliance Managers have developed their own     processes                                 information can be standardized across locations
                                     tracking spreadsheets to manage and monitor regulatory compliance        --No regularized review of                and what can be variable. Where applicable,
                                                                                                              what works and what doesn't               develop a more formalized and consistent protocol
                                     activities, such as DEA submissions, inventory adjustments, monitoring
                                                                                                               n order to drive best                    through which information and results are centrally
                                     tasks, associate training and facility licensure.                        practices                                 collected, reported and certified to.

         ............:Assigned to:   Mays
RANKING:
                                                                      XXX Group A, Can be addressed Operationally


               Select Priority:__ High XXX Medium — Low --NA                                         Select Category:_ Must Do XXX Like to Do _Do Not Need to Do


                                                                             _ Group B, Requires an IT Solution


               Select Priority:__ High _Medium --Low                         — NA                   Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:




19                                                                                                                                                                          August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                  ABDCMDL00250042
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No. Affected           Category      Findings & Observations                                                         Gaps & Risks                     Potential   Recommendations
        Area &                                                                                                                                            Business
        Activity                                                                                                                                          Impact
 20     Regulatory         Processes          CSRA is responsible for maintaining the facility licenses (DEA, State      --Allowing a license to e)pire   Red         Maintain and monitor facility licenses through an
        Oversight —                           Boards of Pharmacy, etc.), but currently tracks all licenses and related   or not understanding                         electronic system that triggers alerts when
        Compliance                            requirements on spreadsheets. The license is what allows the location to   changes to the requirements                  licenses need to be renewed and references the
                                              do business so the lack of controls around this process presents a         risks shutting down the                      regulatory requirements associated with that
                                                                                                                         facility                                     particular license.
............. ..................              significant risk to the organization.
                              _
                                _Assigned to: Mays
   RANKING:
                                                                              _ Group A, Can be addressed Operationally

                   Select Priority:__ High _Medium --Low — NA                                                  Select Category:_ Must Do __ Like to Do _Do Not Need to Do

                                                                                    XXX Group B, Requires an IT Solution

                   Select Priority: XXX High _Medium — Low --NA                                               Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

  NOTES:




 20                                                                                                                                                                                       August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                            ABDCMDL00250043
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AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No.   Affected      Category    Findings & Observations                                                  Gaps & Risks                    Potential   Recommendations
         Area &                                                                                                                             Business
         Activity                                                                                                                           Impact
21       Regulatory    Processes
                               CSRA has experienced challenges in maintaining the state regulatory          --Not clear who is              Red           iir5t::establish:wha:isrespons~hle:faranalrrialsdnc   Formatted: Highlight
         Oversight —           matrix, which tracks licensure, reporting and other miscellaneous            responsible for maintaining                 the:matrix.0SRA:should:determinewhether
         Compliance            requirements and is currently housed in a spreadsheet and periodically       requirements                                should be:SLlpP0rt:0T'cwrdinatjbn:wth:Legal:or
                               updated through manual review. Currently, CSRA resources are                 --Lack of compliance with                   other departments.and.then:ta.skspenficpadies
                               responsible for updating the matrix but may not have the necessary           state or federal requirements               with:continual:trnuiaena:nceof:the:matrix: Second._     Comment[CZ5]: operational as well
                                                                                                            --Ineffective alignment and                 establish an electronic version in a centralized
                               access to information or expertise to interpret regulatory obligations and   allocation of resources and                 location where requirements can be monitored,
                               requirements. For example, a Compliance Manager may reach out to             expertise                                   updated and accessed as appropriate, using a
                               their state representative to inquire about state requirements and either                                                repeatable process and ensuring visibility to any
                               not receive a response or receive incorrect information.                                                                 changes that are made.
                 .Assigned to: Mays
RANKING:
                                                                    XXX Group A, Can be addressed Operationally

               Select Priority: XXX        High _Medium — Low                   — NA                        Select Category: XXX _Must Do _ Like to Do _Do Not Need to Do

                                                                          XXX Group B, Requires an IT Solution

               Select Priority: XXX High _Medium — Low --NA                                       Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

NOTES:




21                                                                                                                                                                           August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                       ABDCMDL00250044
                                                                                                                                                                                                                   ABDCMDL00250024_00020
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  AmerisourceBergen Corporation
  CSRA Process Review — Findings Matrix

 ID No. Affected            Category       Findings & Observations                                                           Gaps & Risks                      Potential   Recommendations
        Area &                                                                                                                                                 Business
        Activity                                                                                                                                               Impact
 22     Regulatory          Processes         Notifications of employee terminations from Human Resources shared             --Terminated employee with        Red         Include Compliance Managers on the terminations
        Oversight —                           services function are not distributed to all relevant parties. Specifically,   access to the facility presents               distribution list and explore better coordination with
        Compliance                            the Compliance Managers are not on the email distribution so may be            a risk for theft or violence                  Human Resources to mitigate the risk assodated
                                              delayed in receiving notification of terminations even though they are                                                       with terminations.

............. ..................              responsible for building security and badge access.
                              _
                                _Assigned to: Mays
   RANKING:
                                                                                 XXX Group A, Can be addressed Operationally

                    Select Priority: XXX High _Medium — Low --NA                                                     Select Category: XXX Must Do _ Like to Do _Do Not Need to Do

                                                                                         _ Group B, Requires an IT Solution

                    Select Priority:__ High _Medium --Low — NA                                                      Select Category:__ Must Do _ Like to Do __Do Not Need to Do

  NOTES:




 22                                                                                                                                                                                             August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                      ABDCMDL00250045
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.    Affected          Category        Findings & Observations                                                  Gaps & Risks                   Potential   Recommendations
           Area &                                                                                                                                    Business
           Activity                                                                                                                                  Impact
 23        Regulatory        Processes       There is no clear guidance with respect to how CSRA is supposed to       --Difficult to implement       Yellow      Provide better definition around the roles of
           Oversight —                       engage in customer communications. As a general rule, the Compliance     sustained infrastructure and               engaging with customers. Customer Care
           Compliance                        Managers are not supposed to reach out to customers — communications     other process improvements                 associates are trained to deal with customers so
                                             are supposed to go through either Customer Care or the business          --Prevent resources from                   should be handling those communications, but
                                                                                                                      focusing on assigned                       need to be better trained on the questions to ask
                                             leadership (in the case of ABSG). However, some facilities contact the
                                                                                                                      projects and ensuring                      and the information to collect when outreaching on
                                             customers directly because it is more efficient than working through     compliance                                 behalf of CSRA.
                                             Customer Care or corporate resources which can lead to inconsistent
                                             messaging to customers.                                                                                             Consider whether to have Customer Care
                                                                                                                                                                 associates that are dedicated to handling
............ ..................                                                                                                                                  controlled substance inquiries.
                      .
                       .......Assigned to:   Mays
 RANKING:
                                                                             XXX Group A, Can be addressed Operationally


                    Select Priority:__ High XXX Medium — Low --NA                                           Select Category:_ Must Do XXX Like to Do _Do Not Need to Do

                                                                                    _ Group B, Requires an IT Solution


                    Select Priority:__ High _Medium --Low                           — NA                   Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:




 23                                                                                                                                                                                 August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                        ABDCMDL00250046
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                                                              Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 25 of 41 PageID #: 72980




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

  ID         Affected Area         Category         Findings & Observations                                                               Gaps & Risks                         Potential   Recommendations
  No.        & Activity                                                                                                                                                        Business
                                                                                                                                                                               Impact
 24          Investigations       Systems           Investigations are currently tracked in RMS. However, the system does not             --Ineffective utilization of time    Red         Implement a customized and centralized matter
                                                    provide the necessary functionality to meet the needs of the CSRA                     and resources — reduced                          management solution to address the
                                                     I nvestigations team. Specific defidencies of the system include, but are not        productivity, reduced                            comprehensive needs of the CSRA team. Include
                                                    limited to, the following:                                                            efficiency, reduced quality                      in the system requirements any required or
                                                    --Compliance Managers do not have access to open a matter or enter                    --Incomplete or inaccurate                       desired functionality that is not available in the
                                                    information relevant to the matter.                                                   information recorded in the                      current system.
                                                    --Unable to add supplemental information to closed investigations in RMS. The         system
                                                    investigator either has to reopen a closed investigation and resubmit it for          --Lack of visibility to historical               For example, provide a user-friendly online,
                                                    closure or create a new matter to track the additional information.                   or related information that                      generic form that is accessible to all CSRA
                                                    --RMS does not allowfor the linking of related matters.                               may impact the investigation                     resources (e.g., the Compliance Managers), to
                                                    --There is limited information that can be entered for a matter. For example, only                                                     open a matter and route it for investigators.
                                                    one product can be designated on the matter so the investigator would have to
                                                    create separate matters if there were multiple products impacted by a theft.
                                                    --Cannot reach broadly across all active and historical investigations and related
                                                    CSRA matters.
                                                    --Reporting is limited, which reduces visibility to potential trends and issues.

................ ..........;:.:.,:.::Assigned to:   Bruce Gundy
  RANKING:
                                                                                          _ Group A, Can be addressed Operationally

                       Select Priority:__ High _Medium --Low                                     — NA                        Select Category:_ Must Do __ Like to Do _Do Not Need to Do

                                                                                                _X_ Group B, Requires an IT Solution

                       Select Priority: _X_ High __Medium __Low                                   _NA                                    Select Category: _X_ Must Do __ Like to Do _Do Not Need to Do

  NOTES:




 24                                                                                                                                                                                                           August 25, 2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                  ABDCMDL00250047
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                                                           Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 26 of 41 PageID #: 72981




  AmerisourceBergen Corporation
  CSRA Process Review — Findings Matrix

  ID           Affected Area          Category   Findings & Observations                                                             Gaps & Risks                        Potential   Recommendations
  No.          & Activity                                                                                                                                                Business
                                                                                                                                                                         Impact
  25           Investigations         Systems    Investigations activities, status and results are manually tracked through Excel    --Ineffective utilization of time   Green       Implement a customized and centralized matter
                                                 spreadsheets. As a result, there is limited aggregate reporting which prevents      and resources — reduced                         management solution to address the
                                                 management from having visibility to potential trends and issues.                   productivity, reduced                           comprehensive needs of the CSRA team. Include
                                                                                                                                     efficiency, reduced quality                     in the system requirements any required or
                                                                                                                                     --Lack of visibility to potential               desired functionality that is not available in the
                                                                                                                                     risks and concerns                              current system, including automated routine and
                                                                                                                                                                                     ad hoc reporting.

...................................
                                Assigned to: Bruce Gundy
  RANKING:
                                                                                       _ Group A, Can be addressed Operationally

                          Select Priority:__ High _Medium --Low                               — NA                        Select Category:_ Must Do __ Like to Do _Do Not Need to Do


                                                                                             _X_ Group B, Requires an IT Solution

                          Select Priority:__ High _X_ Medium --Low                             — NA                                 Select Category:__ Must Do _X_ Like to Do _Do Not Need to Do

  NOTES:




  25                                                                                                                                                                                                    August 25,2015




   HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                           ABDCMDL00250048
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AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID       Affected Area    Category      Findings & Observations                                                           Gaps & Risks                   Potential      Recommendations
No.      & Activity                                                                                                                                      Business
                                                                                                                                                         Impact
26       Investigations   People     The roles and responsibilities as it relates to investigations are not clearly       --Difficult to implement       Green/Yellow   Cle8rly:define1hemlegnrid regponsibilifi@s
                                     defined. Notifications of customer claims are distributed to a group that includes   sustained infrastructure and                  related:to:clams and atvesbgations::Develctri
                                     both the corporate and local CSRA teams, as well as the Director of Operations.      other process improvements                    formal:traning and grudelines:for person0.1
                                     As a result, there are inconsistencies with respect to who handles the               --Prevents resources from                     iPiyolved in.any investigatory activities.:;
                                     investigatory activities, which in different instances can be the Corporate          focusing on assigned
                                     I nvestigators, Compliance Managers, Warehouse Managers, Inventory Control           projects and ensuring                         For example, the Quick Incident Checklist is a
                                     Managers and/or Transportation Managers.                                             compliance                                    good reference tool with respect to the information
                                                                                                                          --Ineffective alignment and                   that is required to be collected for certain types of
                                                                                                                          allocation of resources and                   investigations, but should be expanded to address
                                                                                                                          expertise                                     all types of investigations.
                    flssigned to: Bruce Gundy
RANKING:
                                                                           _ Group A, Can be addressed Operationally

                Select Priority:__ High _Medium --Low — NA                                                    Select Category:_ Must Do __ Like to Do _X_Do Not Need to Do

                                                                                  _ Group B, Requires an IT Solution

                Select Priority:__ High _Medium --Low — NA                                                   Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:

      1. Investigations disagrees with these findings, as claims and the claims process are not handled by Investigations.
      2. If the findings relate to Diversion, a matter is opened in RMS.



              e'1 ~::~:LIi5~ti5




26                                                                                                                                                                                          August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                    ABDCMDL00250049
                                                                                                                                                                                                                                ABDCMDL00250024_00025
                                                                                                                                                                                                                                         P-0047200027
                                                          Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 28 of 41 PageID #: 72983




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID        Affected Area       Category        Findings & Observations                                                               Gaps & Risks                    Potential   Recommendations
 No.       & Activity                                                                                                                                                Business
                                                                                                                                                                     Impact
 27        Investigations      Processes       There are no clear guidelines on when to open a formal matter for potential           --Incomplete or potential for   Yellow      Cliearly.define:whin:inddeitgsNould.befritrli 4
                                               incidents. It is subject to a subjective "reasonable person standard." For            inaccurate information and                  tracked:as::matters.':a«d:whether:anyspecific
                                               example, if a product loss I quickly resolved it will not be tracked. As a result,    reporting.                                  types of:incidents:maybe:handled and:resolveFfat
                                               there is no complete inventory of incidents or depiction of CSRA activities.                                                      the fadlify versuS.Wgllired to.reported. Lip to
                                                                                                                                                                                 corporate: The general sentiment is that losses
                                                                                                                                                                                 get reported to Corporate Investigators when they
                                                                                                                                                                                 cannot be resolved by the distribution center."
                                                                                                                                                                                 Consider implementing a "quick incident log" to
                                                                                                                                                                                 record any claims or incidents that are quickly
                                                                                                                                                                                 resolved by the facility.
............ ....................
                                Assigned to:   Bruce Gundy
 RANKING:
                                                                                     _X_ Group A, Can be addressed Operationally


                    Select Priority:__ High _Medium --Low                                    — NA                          Select Category:_ Must Do __ Like to Do _Do Not Need to Do

                                                                                             _X_ Group B, Requires an IT Solution


                    Select Priority:__ High _Medium _X__ Low                                   — NA                                 Select Category:__ Must Do _X_ Like to Do _Do Not Need to Do

 NOTES:




 27                                                                                                                                                                                                 August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                       ABDCMDL00250050
                                                                                                                                                                                                                                     ABDCMDL00250024_00026
                                                                                                                                                                                                                                              P-0047200028
                                                         Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 29 of 41 PageID #: 72984




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID        Affected Area       Category        Findings & Observations                                                            Gaps & Risks                       Potential   Recommendations
 No.       & Activity                                                                                                                                                Business
                                                                                                                                                                     Impact
 28        Investigations      Processes       There are no clear guidelines for when to close a matter, which may result in      --Investigations stay open for     Green       Orente.ade9t[n81:5CatLIS categories:ta:understantl
                                               matters remaining open when they are not actively being worked by CSRA.            longer than necessary                          where m 1he:Iifeeyde:the:invostigatton:starrds:ar~d
                                                                                                                                  --Incomplete or potential for                  whether:it remains:in: the purview:of CSRA. Also
                                               For example, an investigation will remain open when the incident has been          inaccurate information and                     include in the system requirements the need for
                                               handed off to external law enforcement until a resolution is provided or no        reporting                                      triggers or alerts that remind the CSRA
                                               further updates are forthcoming. Similarly, an investigation may lag while CSRA    --Lack of visibility to resource               investigator to follow-up on open investigations
                                               is awaiting responses or information from other ABC Departments (e.g.,             allocation and workload                        that they are not actively working on a periodic
                                               Operations or Transportation). Or after an investigation has been resolved, the                                                   basis. With respect to internal communications,
                                               matter might remain open for a fewweeks of "monitoring" to ensure there are no                                                    provide expected response times to business
                                               additional or resulting concerns.                                                                                                 partners from which information is being
............ ....................                                                                                                                                                requested.
                                Assigned to:   Bruce Gundy
 RANKING:
                                                                                   _X_ Group A, Can be addressed Operationally

                    Select Priority:__ High _Medium --Low                                  — NA                        Select Category:_ Must Do __ Like to Do _Do Not Need to Do

                                                                                          _X_ Group B, Requires an IT Solution

                    Select Priority:__ High _X_ Medium --Low                                 — NA                                Select Category: _X_ N'lust Do _X_ Like to Do _Do Not Need to Do

 NOTES:




 28                                                                                                                                                                                                  August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                         ABDCMDL00250051
                                                                                                                                                                                                                                       ABDCMDL00250024_00027
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                                                  Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 30 of 41 PageID #: 72985




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID      Affected Area    Category       Findings & Observations                                                                  Gaps & Risks                        Potential   Recommendations
No.     & Activity                                                                                                                                                   Business
                                                                                                                                                                     Impact
29      Investigations   Processes      Investigation results are manually tracked and reported. There is a general              --Ineffective utilization of time   Green       thventory:a:itd:ev luaYe:the:toolaandreparts
                                        report template that has been adopted by the team (i.e., Summary statement,              and resources — reduced                         currently:used by:the:team: members::Develco I
                                        I nvestigation updates, Matter resolution, Closing statement), but it is written in a    productivity, reduced                           snore:forma lized:consistent:protoeol. reporting
                                        Word document which causes inefficiencies and inconsistencies.                           efficiency, reduced quality                     elements and templates that are adopted by all
                                                                                                                                 --Inconsistences in                             team members. Establish and memorialize
                                                                                                                                 executing established                           escalation procedures for reporting issues to
                                                                                                                                 processes                                       management and/or external agencies.
                                                                                                                                  --Lack of visibility to issues
                                                                                                                                 that may present risk to the
                                                                                                                                 organization
                   flssigned to:        Bruce Gundy
RANKING:
                                                                              _X_ Group A, Can be addressed Operationally

               Select Priority:__ High _Medium --Low                                  — NA                          Select Category:_ Must Do __ Like to Do _Do Not Need to Do


                                                                                      _X_ Group B, Requires an IT Solution

               Select Priority:__ High _X_ Medium --Low                                 — NA                                    Select Category:__ Must Do _X_ Like to Do _Do Not Need to Do

NOTES:




29                                                                                                                                                                                                  August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                        ABDCMDL00250052
                                                                                                                                                                                                                                    ABDCMDL00250024_00028
                                                                                                                                                                                                                                             P-0047200030
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AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID      Affected Area    Category       Findings & Observations                                                  Gaps & Risks                        Potential   Recommendations
No.     & Activity                                                                                                                                   Business
                                                                                                                                                     Impact
30      Investigations   Systems    CSRA resources manage and track all other assigned tasks and activities      --Ineffective utilization of time   Green       Implement a customized and centralized matter
                                    through email and spreadsheets (e.g., pharmacy visits, workplace violence    and resources — reduced                         management solution to address the
                                    incidents, employee termination meetings, etc.).                             productivity, reduced                           comprehensive needs of the CSRA team.
                                                                                                                 efficiency, reduced quality
                                                                                                                 --Inconsistendes in
                                                                                                                 executing established
                                                                                                                 processes
                                                                                                                  --Lack of visibility to
                                                                                                                 resource allocation and
                                                                                                                 workload
                   flssigned to: Bruce Gundy
RANKING:
                                                                        _ Group A, Can be addressed Operationally

               Select Priority:__ High _Medium --Low                          — NA                       Select Category:_ Must Do __ Like to Do _Do Not Need to Do


                                                                              _X_ Group B, Requires an IT Solution

               Select Priority:__ High _X_ Medium --Low                         — NA                            Select Category: _X_ Must Do __ Like to Do _Do Not Need to Do

NOTES:




30                                                                                                                                                                                 August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                     ABDCMDL00250053
                                                                                                                                                                                                                 ABDCMDL00250024_00029
                                                                                                                                                                                                                          P-0047200031
                                                            Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 32 of 41 PageID #: 72987




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.        Affected             Category    Findings & Observations                                                             Gaps & Risks            Potential   Recommendations
               Area &                                                                                                                                       Business
               Activity                                                                                                                                     Impact
  31           Compliance Processes             There is limited guidance around the handling of Network Calls and the              --Inconsistencies in    Yellow      Establish specific guidance regarding the
               Complaints                       i nstitutional knowledge resides with a single resource that manages the process.   executing established               processes for handling Network Calls, including
              (Network                                                                                                              processes                           how issues are categorized and prioritized, who is
               Calls)                                                                                                                                                   responsible for investigating the allegation, and
...................................      ....                                                                                                                           when a resolution needs to be provided.
                               ignedfo: Bob Crow
 RANKING:
                                                                                        X Group A, Can be addressed Operationally

                      Select Priority: __ High _ Medium X Low _ NA                                                       Select Category: _ Must Do __ Like to Do X Do Not Need to Do

                                                                                              _ Group B, Requires an IT Solution

                      Select Priority: __ High _ Medium __ Low X NA                                                      Select Category:__ Must Do _Like to Do __ Do Not Need to Do

  NOTES:

 -1 feel we have appropriate back-ups that understand the process. Bruce Gundy, Director of Investigations and Julie Hinman, Manager — CSRA.

 -1 feel adequate guidance, including categorizing and resolution, exists within Policy and Procedure for handling and processing of Compliance Complaints(Network
 Calls).




 31                                                                                                                                                                                         August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                               ABDCMDL00250054
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  AmerisourceBergen Corporation
  CSRA Process Review — Findings Matrix

  ID No.      Affected             Category   Findings & Observations                                                            Gaps & Risks                    Potential   Recommendations
              Area &                                                                                                                                             Business
              Activity                                                                                                                                           Impact
 32           Compliance           Systems    Network calls are entered into RMS but subject to manual tracking and reporting.    --Ineffective utilization of   Green       Implement a customized and centralized matter
              Complaints                      This leads to a time consuming process and duplicative efforts to develop the      time and resources —                        management solution to address the
              (Network                        Monthly Summary Report (i.e., Hyle Report) and the Quarterly Board Reporting.      reduced productivity,                       comprehensive needs of the CSRA team. Develop
              Calls)                                                                                                             reduced efficiency, reduced                 automated reports to track the number, type and
                                                                                                                                 quality                                     outcomes of Network Calls.
................................
                            ::Assigned to: Bob Crow
  RANKING:
                                                                                     _ Group A, Can be addressed Operationally

                          Select Priority: __ High _ Medium __ Low                         X NA                       Select Category: _ Must Do __ Like to Do _Do Not Need to Do

                                                                                            X Group B, Requires an IT Solution

                          Select Priority: __ High _ Medium X Low                        __ NA                       Select Category: X Must Do _ Like to Do _Do Not Need to Do

  NOTES:

  -Even though this is a low priority, it is a must do as the program continues to expand.




  32                                                                                                                                                                                           August 25,2015




   HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                ABDCMDL00250055
                                                                                                                                                                                                                               ABDCMDL00250024_00031
                                                                                                                                                                                                                                        P-0047200033
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AmerisourceBergen Corporation
CSRA Process Review - Findings Matrix

ID No.   Affected     Category     Findings & Observations                                                           Gaps & Risks                    Potential   Recommendations
         Area &                                                                                                                                      Business
         Activity                                                                                                                                    Impact
33       Security     Systems      Security checklists are completed on paper and reports are manually developed      --Ineffective utilization of   Yellow      Create an electronic version of the security
         Programs                  so there is limited electronic evidence of inspections. These would include the   time and resources -                        checklists within the matter management solution
                                   cage and vault logs, equipment safety inspections, and quarterly burglar/fire     reduced productivity,                       that will capture the findings and generate
                                   alarm system testing.                                                             reduced efficiency, reduced                 dashboards and reports. This will improve
                                                                                                                     quality                                     efficiencies while eliminating the manual tracking
                                                                                                                     --Incomplete or inaccurate                  of findings.
                                                                                                                     information

              ....:Assigned to: Bob Crow
RANKING-

                                                                          — Group A, Can           be addressed Operationally

               Select Priority: __ High _ Medium __ Low                         X NA                       Select Category: _ Must Do __ Like to Do _Do Not Need to Do


                                                                                 X Group B, Requires an IT Solution

               Select Priority: __ High _ Medium X Low                        __ NA                        Select Category: X Must Do _ Like to Do _Do Not Need to Do

NOTES:

-Even though this is a low priority, it is a must do as the program continues to expand.




33                                                                                                                                                                                   August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                          ABDCMDL00250056
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                                                                                                                                                                                                                               P-0047200034
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.     Affected          Category        Findings & Observations                                                           Gaps & Risks                     Potential   Recommendations
            Area &                                                                                                                                               Business
            Activity                                                                                                                                             Impact
 34         Security         Systems          Tracking and monitoring background checks is a very manual and ineffident          --Ineffective utilization of    Yellow      Automate the procedures for tracking, monitoring
            Programs                          process. CSRA currently tracks the requirements, completion, results related to   time and resources—                          and reporting on background checks. Evaluate
                                              background checks via spreadsheet, with a monthly upload to RMS.                  reduced productivity,                        whether there is opportunity for coordination with
                                                                                                                                reduced efficiency, reduced                  Human Resources to trigger annual requirements.
                                                                                                                                quality                                      Consider whether there is a need to evaluate
                                                                                                                                --Incomplete or inaccurate                   alternate background screening vendors.
                                                                                                                                information could result in
                                                                                                                                hiring of excluded individuals
................................
                              i4ssigned to:   Bob Crow
 RANKING:
                                                                                     _ Group A, Can be addressed Operationally


                     Select Priority: __ High _ Medium __ Low                              X NA                        Select Category: _ Must Do __ Like to Do _Do Not Need to Do


                                                                                            X Group B, Requires an IT Solution


                     Select Priority: __ High X Medium __ Low                            __ NA                        Select Category: __ Must Do X Like to Do _Do Not Need to Do

  NOTES:




 34                                                                                                                                                                                             August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                    ABDCMDL00250057
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AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No.   Affected     Category     Findings & Observations                                                             Gaps & Risks                        Potential   Recommendations
         Area &                                                                                                                                            Business
         Activity                                                                                                                                          Impact
35       Security     Systems      Security matters are not documented in a centralized location. For example,         --Lack of visibility to all tasks   Green       Implement a customized and centralized matter
         Programs                  facility expansions are tracked on the share drive but not recorded in RMS. Other   and activities to manage                        management solution to address the
                                   activities such as background checks are tracked both in RMS and locally,           resource allocation and                         comprehensive needs of the CSRA team.
                                   resulting in duplication of efforts.                                                workload
                                                                                                                        --Ineffective utilization of
                                                                                                                       time and resources —
                                                                                                                       reduced productivity,
                                                                                                                       reduced efficiency, reduced
                                                                                                                       quality

                .Assigned to:      Bob Crow
RANKING:
                                                                          _ Group A, Can be addressed Operationally


               Select Priority: __ High _ Medium __ Low                         X NA                        Select Category: _ Must Do __ Like to Do _Do Not Need to Do


                                                                                 X Group B, Requires an IT Solution


               Select Priority: X High __ Medium _ Low                         __ NA                       Select Category: X Must Do _ Like to Do _Do Not Need to Do

NOTES:




35                                                                                                                                                                                       August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                           ABDCMDL00250058
                                                                                                                                                                                                                       ABDCMDL00250024_00034
                                                                                                                                                                                                                                P-0047200036
                                                         Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 37 of 41 PageID #: 72992




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.        Affected          Category    Findings & Observations                                                          Gaps & Risks                    Potential   Recommendations
               Area &                                                                                                                                         Business
               Activity                                                                                                                                       Impact
 36            Business          Processes   It is unclear whether CSRA has oversight to the remediation efforts and          --Lack of oversight to ensure   Yellow      Expand the scope of the Crisis Management
               Continuity                    corrective actions taken in response to a business interruption.                 risks have been appropriately               policy.
                                                                                                                              mitigated
............ .................
                              Assigned to:   Bob Crow
 RANKING:
                                                                                    X Group A, Can be addressed Operationally


                    Select Priority: X High __ Medium _ Low                              __ NA                         Select Category: X Must Do _ Like to Do _Do Not Need to Do

                                                                                           _ Group B, Requires an IT Solution


                    Select Priority: __ High _ Medium __ Low                              X NA                         Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:

 -This process is in process.




 36                                                                                                                                                                                         August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                        ABDCMDL00250059
                                                                                                                                                                                                                      ABDCMDL00250024_00035
                                                                                                                                                                                                                               P-0047200037
                                                        Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 38 of 41 PageID #: 72993




 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.        Affected          Category   Findings & Observations                                                             Gaps & Risks                      Potential   Recommendations
               Area &                                                                                                                                             Business
               Activity                                                                                                                                           Impact
 37            Business          Systems    There is no centralized tracking or automated reporting of business interruptions   --Difficult to track and report   Green       Implement a customized and centralized matter
               Continuity                   to provide visibility to historical incidents or status of active matters.          on incidents and activities                   management solution to address the
                                                                                                                                                                              comprehensive needs of the CSRA team.
............ .................
                             Assigned to: Bob Crow
 RANKING:
                                                                                   _ Group A, Can be addressed Operationally

                          Select Priority: __ High _ Medium __ Low X NA                                               Select Category: _ Must Do __ Like to Do _Do Not Need to Do

                                                                                           X Group B, Requires an IT Solution

                          Select Priority: X High __ Medium _ Low __ NA                                              Select Category: X Must Do _ Like to Do _Do Not Need to Do

  NOTES:




 37                                                                                                                                                                                             August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                ABDCMDL00250060
                                                                                                                                                                                                                              ABDCMDL00250024_00036
                                                                                                                                                                                                                                       P-0047200038
                                               Case 3:17-cv-01362 Document 1509-24 Filed 01/12/22 Page 39 of 41 PageID #: 72994




AmerisourceBergen Corporation
CSRA Process Review — Findings Matrix

ID No.   Affected      Category    Findings & Observations                                                              Gaps & Risks                        Potential   Recommendations
         Area &                                                                                                                                             Business
         Activity                                                                                                                                           Impact
38       Other         Systems     There is no centralized tracking of "other" CSRA projects and activities. Some are   --Lack of visibility to all tasks   Green       Implement a customized and centralized matter
         CSRA                      in RMS or Lawtrac, others are documented on the share drive and assignments          and activities to manage                        management solution to address the
         Projects                  are tracked via spreadsheet.                                                         resource allocation and                         comprehensive needs of the CSRA team.
                                                                                                                        workload
                    Assigned to:   Francine Duncan
RANKING:
                                                                         _X_ Group A, Can be addressed Operationally

                Select Priority: _X_ High __Medium __Low _NA                                                            Select Category: _X_ Must Do __ Like to Do _Do Not Need to Do

                                                        _?_ Group B, Requires an IT Solution —To be determined; see Notes.

                Select Priority:__ High _Medium --Low — NA                                                  Select Category:__ Must Do _ Like to Do __Do Not Need to Do

NOTES:

     1. Concerning Operational Improvement — CSRA will need to determine its requirements for managing project and functional activity resource allocation and
        workload, scheduling and reporting requirements. For example - are weekly reports required, does CSRA want to see how much time is spent on projects and
        functional activities, does CSRA want resource time estimates when planning projects, and should resource allocation hours be included in action plans.
     2. Concerning an IT Solution - on projects where CSRA is working with EITS— IT does have a project management process and tool (Clarity) in place to provide
        visibility to project tasks, and to manage resource allocation and workload. The CSRA project manager has received access, and will be learning how to use the
        tool and collaborate with IT on managing a project and providing deliverables. Whether this tool can be used on non-IT projects needs to be determined. MS
        Project is also another tool that is available and has resource management capabilities, and can be utilized for project and functional activity planning.
        Additional information is needed around CSRA requirements, as well as other enterprise solutions that may be available and how they are being used for
        resource management and scheduling — e.g., Clarity, Workday,SmartSheet, Rally, MS Project, MS Excel.
     3. Based on comments 1 and 2,the Matter Management system would be the central repository for CSRA project documentation — e.g., charters,schedules,
        requirements documents. After CSRA project management requirements are provided, it would need to be determined whether the Matter Management
        System can and/or should be enabled to meet those requirements, or if another type of solution is used — e.g., Clarity or another enterprise tool or set of tools.
        Matter Management could provide links to these. More information is needed around available tools and if associated ABC standards and practices are in
        place.



38                                                                                                                                                                                        August 25,2015




HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                            ABDCMDL00250061
                                                                                                                                                                                                                        ABDCMDL00250024_00037
                                                                                                                                                                                                                                 P-0047200039
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID No.   Affected         Category      Findings & Observations                                                          Gaps & Risks                      Potential   Recommendations
          Area &                                                                                                                                            Business
          Activity                                                                                                                                          Impact
 39       Project          Processes     Still in the process of defining the project management function within CSRA.   --Difficult to provide oversight   Green       Continue to define the project management
          Management                                                                                                     without standards and                          function as it relates to the CSRA department,
                                                                                                                         procedures.                                    including the coordination with IT partners.
............ ..................
                               Assigned to: Francine Duncan
  RANKING:
                                                                             _X_ Group A, Can be addressed Operationally

                  Select Priority: __X_ High __Medium __Low _NA                                                          Select Category: _X_ Must Do __ Like to Do _Do Not Need to Do

                                                                                     _ Group B, Requires an IT Solution

                  Select Priority:__ High _Medium --Low _X_ NA                                                           Select Category:__ Must Do _ Like to Do __Do Not Need to Do

 NOTES:

      1. Concerning Operational Improvement —development of the function is in progress. It needs to be determined how oversight will be handled, as it appears that
         ABC does not have enterprise standards in place nor an enterprise Project or Program Management Office(PMO). To the best of the CSRA project manager's
         knowledge, the practice of project management is handled by various Project or Program Management Office's(PMO's)throughout the enterprise and project
         managers within functional areas such as CSRA.(It is suggested that consideration be given by ABC to implementing a Center of Excellence around program
         a nd project management in the future, to support best practices throughout the enterprise.)
                  Standards and procedures can be put in place at the department level for CSRA, as project management practice is fairly consistent throughout ABC,
         a nd based on the global standard, the Project Management Institute PMBOK (project management book of knowledge).
      2. An IT solution is already in place with a defined process. Per comments on ID No. 38,this process can be used for projects that are done in collaboration with
         IT. For projects that do not include IT, various desktop tools are available for project management and it needs to be determined if elements of the IT process
         a nd the tools can be leveraged in the business environment.
      3. In practice, business project managers usually collaborate with IT and external partner project managers on initiatives, forming "mini-PMO's" on specific
         efforts.




 39                                                                                                                                                                                        August 25,2015




 HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                            ABDCMDL00250062
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                                                                                                                                                                                                                                  P-0047200040
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 AmerisourceBergen Corporation
 CSRA Process Review — Findings Matrix

 ID       Affected         Category       Findings & Observations                                                 Gaps & Risks                       Potential   Recommendations
 No.      Area &                                                                                                                                     Business
          Activity                                                                                                                                   Impact
 40       Project          Systems       There is no centralized repository for tracking and reporting project   --Lack of visibility to all tasks   Green        Implement a centralized and comprehensive
          Management                     documentation, though utilizing SharePoint as an interim solution.      and activities                                   matter management solution such that the CSRA
                                                                                                                                                                 team has access to key project documentation
                                                                                                                                                                 (e.g., project charters and action plans) and
.....................................   ...                                                                                                                       visibility to the status of ongoing projects.
                                  ssignedto: Francine Duncan
  RANKING:
                                                                               _X_ Group A, Can be addressed Operationally

                  Select Priority: _X_ High __Medium __Low _NA                                                   Select Category: _X_ Must Do __ Like to Do _Do Not Need to Do

                                                                                      _X_ Group B, Requires an IT Solution

                  Select Priority:__ High _X_ Medium --Low — NA                                                  Select Category:__ Must Do _X_ Like to Do _Do Not Need to Do

 NOTES:

       1. As an interim solution, a SharePoint can be utilized as the centralized repository, and access provided to CSRA.SharePoint is currently utilized by other groups
          at ABC to house project documentation.
       2. As CSRXs objective is to house all documentation in one system, it would be most efficient to maintain project documentation in the Matter Management
          System. If this capability is not initially implemented, then a link to the SharePoint within the system would be useful.




 40                                                                                                                                                                                August 25,2015




  HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                    ABDCMDL00250063
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